







NUMBER 13-00-728-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI


____________________________________________________________________


ROYCE LAMAR CALLAWAY, JR.,	Appellant,


v.



PETER C. GILMAN,	Appellee.

____________________________________________________________________


On appeal from the 107th District Court


of Cameron County, Texas.


____________________________________________________________________


O P I N I O N



Before Chief Justice Valdez and Justices Hinojosa and

Yanez

Opinion Per Curiam



	Appellant, ROYCE LAMAR CALLAWAY, JR., perfected an appeal
from a judgment entered by the  107th District Court of Cameron
County, Texas, in cause number 1999-03-1144-A.  The clerk's record
was filed on January 23, 2001.  The reporter's record was filed on
December 20, 2000.   Appellant's brief was due on February 22, 2001. 
To date, no appellate brief has been received.

	When the appellant has failed to file a brief in the time prescribed,
the Court may dismiss the appeal for want of prosecution, unless the
appellant reasonably explains the failure and the appellee is not
significantly injured by the appellant's failure to timely file a brief.  Tex.
R. App. P. 38.8(a)(1).

	On March 7, 2001, notice was given to all parties that this appeal
was subject to dismissal pursuant to Tex. R. App. P. 38.8(a)(1). 
Appellant was given ten days to explain why the cause should not be
dismissed for failure to file a brief.  To date, no response has been
received.

	The Court, having examined and fully considered the documents
on file, appellant's failure to file a proper appellate brief, this Court's
notice, and appellant's failure to respond, is of the opinion that the
appeal should be dismissed for want of prosecution.  The appeal is
hereby DISMISSED FOR WANT OF PROSECUTION.

							PER CURIAM


Do not publish.

Tex. R. App. P. 47.3.

Opinion delivered and filed

this the 19th day of April, 2001


